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                             Exhibit "1"
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Number        NoticesID     IP                Filehash
          1   52235213826   70.161.172.138    592361C3D5CBE24B0C19D9A448F9EE7EE015FB1F
          2   51998269860   98.186.195.187    8360C3CF1076A2305C3FBF6D1B35A9A442636967
          3   50781423708   174.72.179.158    7C4F75A3FAE8946A62B6265F524375666C293F2C
          4   50921146500   70.160.12.144     468A426EE49D2B40C80E6898BA750103A9CEC3BA
          5   51643585404   70.189.207.108    6C20DCA33CC84493F29BE1ECD2AD7E5EBFF6A868
          6   51998876640   98.186.195.187    6C20DCA33CC84493F29BE1ECD2AD7E5EBFF6A868
          7   52252775054   70.161.172.138    468A426EE49D2B40C80E6898BA750103A9CEC3BA
          8   52564539256   70.163.221.46     35D021DAAF4DB716A9A280ECD6F4D4FE5246C79B
          9   52806820788   68.230.145.56     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         10   52796238184   68.230.145.56     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         11   52792226610   70.176.239.249    6AD5AF766E1614DA3EB14C6D8CB20A446A63B00F
         12   52789574168   174.66.240.9      117B30F1FB138DC5EA00D29C52FFB468809C5B6A
         13   52788243934   184.187.165.114   9FBEEEF55D19F696F9D7B1D7941AB700D5F0FE16
         14   52785566340   68.7.2.39         468A426EE49D2B40C80E6898BA750103A9CEC3BA
         15   52776772346   68.102.95.159     3E73F38A3BB9641254E26F62074FD19053AD5652
         16   52774730550   98.183.115.204    468A426EE49D2B40C80E6898BA750103A9CEC3BA
         17   52773380996   68.224.197.234    34ED17BA4E71F2ECB9714DDBA5BA09DDB5DCC337
         18   52773377312   174.66.240.9      117B30F1FB138DC5EA00D29C52FFB468809C5B6A
         19   52757493598   72.204.68.144     4E739ED0B5E1CF0B298F619622D910EF04CE57F4
         20   52756793438   68.3.91.183       6AD5AF766E1614DA3EB14C6D8CB20A446A63B00F
         21   52756103884   68.230.145.56     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         22   52756103880   72.198.57.13      468A426EE49D2B40C80E6898BA750103A9CEC3BA
         23   52753315808   70.178.250.147    468A426EE49D2B40C80E6898BA750103A9CEC3BA
         24   52741370854   68.228.144.184    468A426EE49D2B40C80E6898BA750103A9CEC3BA
         25   52736444056   68.14.80.187      7C4F75A3FAE8946A62B6265F524375666C293F2C
         26   52720803476   68.230.145.56     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         27   52720083366   68.108.28.168     AC5BDABCE9A7141241D18308BDA55351C9C2A19C
         28   52717225580   68.108.28.168     AC5BDABCE9A7141241D18308BDA55351C9C2A19C
         29   52701298072   68.227.185.58     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         30   52696158270   68.227.185.58     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         31   52687961702   68.104.33.145     6AD5AF766E1614DA3EB14C6D8CB20A446A63B00F
         32   52687224554   68.102.46.14      55C24892087DC5B19D74A731D7F0E5E987F9BCD2
         33   52681997194   68.224.19.134     9FBEEEF55D19F696F9D7B1D7941AB700D5F0FE16
         34   52681242866   68.102.46.14      55C24892087DC5B19D74A731D7F0E5E987F9BCD2
         35   52673633616   68.104.33.145     6AD5AF766E1614DA3EB14C6D8CB20A446A63B00F
         36   52667515036   50.159.142.80     9FBEEEF55D19F696F9D7B1D7941AB700D5F0FE16
         37   52665210230   50.159.108.38     219524837A441F9C4F5594E0CF3CF98DAB0538C2
         38   52658230752   70.177.233.82     468A426EE49D2B40C80E6898BA750103A9CEC3BA
         39   52650378058   68.102.46.14      55C24892087DC5B19D74A731D7F0E5E987F9BCD2
         40   52649600964   68.102.46.14      35D021DAAF4DB716A9A280ECD6F4D4FE5246C79B
         41   52644872832   50.158.42.121     19719FE5CC48672CFB26B99D23C68283B779F670
 Case 1:23-mc-00263-JMS-WRP Document 1-2 Filed 04/13/23 Page 3 of 9                        PageID.10


Number        NoticesID     IP                Filename
          1   52235213826   70.161.172.138    After Ever Happy (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
          2   51998269860   98.186.195.187    The Protégé (2021) AC3 5.1 ITA.ENG 1080p H265 sub ita.eng Sp
          3   50781423708   174.72.179.158    Fall.2022.1080p.BluRay.H264.AAC‐RARBG
          4   50921146500   70.160.12.144     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
          5   51643585404   70.189.207.108    Fall.2022.720p.WEBRip.800MB.x264‐GalaxyRG[TGx]
          6   51998876640   98.186.195.187    Fall.2022.720p.WEBRip.800MB.x264‐GalaxyRG[TGx]
          7   52252775054   70.161.172.138    Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
          8   52564539256   70.163.221.46     www.5MovieRulz.lc ‐ Fall (2022) 1080p BluRay ‐ (DD+5.1 ‐ 640K
          9   52806820788   68.230.145.56     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         10   52796238184   68.230.145.56     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         11   52792226610   70.176.239.249    Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP
         12   52789574168   174.66.240.9      Fall (2022) [2160p] [4K] [WEB] [5.1] [YTS.MX]
         13   52788243934   184.187.165.114   Fall (2022) [1080p] [BluRay] [5.1] [YTS.MX]
         14   52785566340   68.7.2.39         Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         15   52776772346   68.102.95.159     Fall.2022.WebDL.2160p.DV.Hevc.HDR.DTS.ITA.E‐AC3.ENG.AC3.
         16   52774730550   98.183.115.204    Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         17   52773380996   68.224.197.234    Fall.2022.1080p.BluRay.x265‐RARBG
         18   52773377312   174.66.240.9      Fall (2022) [2160p] [4K] [WEB] [5.1] [YTS.MX]
         19   52757493598   72.204.68.144     Fall.2022.2160p.WEB‐DL.DD5.1.HDR.H.265‐EVO[TGx]
         20   52756793438   68.3.91.183       Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP
         21   52756103884   68.230.145.56     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         22   52756103880   72.198.57.13      Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         23   52753315808   70.178.250.147    Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         24   52741370854   68.228.144.184    Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         25   52736444056   68.14.80.187      Fall.2022.1080p.BluRay.H264.AAC‐RARBG
         26   52720803476   68.230.145.56     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         27   52720083366   68.108.28.168     Fall.2022.1080p.WEBRip.1400MB.DD5.1.x264‐GalaxyRG[TGx]
         28   52717225580   68.108.28.168     Fall.2022.1080p.WEBRip.1400MB.DD5.1.x264‐GalaxyRG[TGx]
         29   52701298072   68.227.185.58     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         30   52696158270   68.227.185.58     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         31   52687961702   68.104.33.145     Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP
         32   52687224554   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         33   52681997194   68.224.19.134     Fall (2022) [1080p] [BluRay] [5.1] [YTS.MX]
         34   52681242866   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         35   52673633616   68.104.33.145     Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP
         36   52667515036   50.159.142.80     Fall (2022) [1080p] [BluRay] [5.1] [YTS.MX]
         37   52665210230   50.159.108.38     Fall 2022 BluRay 1080p DTS AC3 x264‐MgB
         38   52658230752   70.177.233.82     Fall (2022) [1080p] [WEBRip] [5.1] [YTS.MX]
         39   52650378058   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         40   52649600964   68.102.46.14      www.5MovieRulz.lc ‐ Fall (2022) 1080p BluRay ‐ (DD+5.1 ‐ 640K
         41   52644872832   50.158.42.121     www.5MovieRulz.lc ‐ Fall (2022) 720p BluRay ‐ (DD+5.1 ‐ 192Kb
 Case 1:23-mc-00263-JMS-WRP Document 1-2 Filed 04/13/23 Page 4 of 9                   PageID.11


Number        NoticesID     IP                Title              ISP
          1   52235213826   70.161.172.138    After Ever Happy   Cox Communications
          2   51998269860   98.186.195.187    The Protege        Cox Communications
          3   50781423708   174.72.179.158    Fall               Cox Communications
          4   50921146500   70.160.12.144     Fall               Cox Communications
          5   51643585404   70.189.207.108    Fall               Cox Communications
          6   51998876640   98.186.195.187    Fall               Cox Communications
          7   52252775054   70.161.172.138    Fall               Cox Communications
          8   52564539256   70.163.221.46     Fall               Cox Communications
          9   52806820788   68.230.145.56     Fall               Cox Communications
         10   52796238184   68.230.145.56     Fall               Cox Communications
         11   52792226610   70.176.239.249    Fall               Cox Communications
         12   52789574168   174.66.240.9      Fall               Cox Communications
         13   52788243934   184.187.165.114   Fall               Cox Communications
         14   52785566340   68.7.2.39         Fall               Cox Communications
         15   52776772346   68.102.95.159     Fall               Cox Communications
         16   52774730550   98.183.115.204    Fall               Cox Communications
         17   52773380996   68.224.197.234    Fall               Cox Communications
         18   52773377312   174.66.240.9      Fall               Cox Communications
         19   52757493598   72.204.68.144     Fall               Cox Communications
         20   52756793438   68.3.91.183       Fall               Cox Communications
         21   52756103884   68.230.145.56     Fall               Cox Communications
         22   52756103880   72.198.57.13      Fall               Cox Communications
         23   52753315808   70.178.250.147    Fall               Cox Communications
         24   52741370854   68.228.144.184    Fall               Cox Communications
         25   52736444056   68.14.80.187      Fall               Cox Communications
         26   52720803476   68.230.145.56     Fall               Cox Communications
         27   52720083366   68.108.28.168     Fall               Cox Communications
         28   52717225580   68.108.28.168     Fall               Cox Communications
         29   52701298072   68.227.185.58     Fall               Cox Communications
         30   52696158270   68.227.185.58     Fall               Cox Communications
         31   52687961702   68.104.33.145     Fall               Cox Communications
         32   52687224554   68.102.46.14      Fall               Cox Communications
         33   52681997194   68.224.19.134     Fall               Cox Communications
         34   52681242866   68.102.46.14      Fall               Cox Communications
         35   52673633616   68.104.33.145     Fall               Cox Communications
         36   52667515036   50.159.142.80     Fall               Cox Communications
         37   52665210230   50.159.108.38     Fall               Cox Communications
         38   52658230752   70.177.233.82     Fall               Cox Communications
         39   52650378058   68.102.46.14      Fall               Cox Communications
         40   52649600964   68.102.46.14      Fall               Cox Communications
         41   52644872832   50.158.42.121     Fall               Cox Communications
 Case 1:23-mc-00263-JMS-WRP Document 1-2 Filed 04/13/23 Page 5 of 9       PageID.12


Number        NoticesID     IP                ClientDHTportClientPort
          1   52235213826   70.161.172.138    34307        34307
          2   51998269860   98.186.195.187    0            12793
          3   50781423708   174.72.179.158           65343        60253
          4   50921146500   70.160.12.144                0        37532
          5   51643585404   70.189.207.108           53022        54433
          6   51998876640   98.186.195.187               0        12681
          7   52252775054   70.161.172.138           34307        34307
          8   52564539256   70.163.221.46                0         6881
          9   52806820788   68.230.145.56                0         6881
         10   52796238184   68.230.145.56                0        56196
         11   52792226610   70.176.239.249           62185        62185
         12   52789574168   174.66.240.9                 0         6881
         13   52788243934   184.187.165.114              0        61771
         14   52785566340   68.7.2.39                    0        56075
         15   52776772346   68.102.95.159                0        59151
         16   52774730550   98.183.115.204               0        57213
         17   52773380996   68.224.197.234           32316        32316
         18   52773377312   174.66.240.9                 0        65523
         19   52757493598   72.204.68.144                0        56251
         20   52756793438   68.3.91.183                  0        50175
         21   52756103884   68.230.145.56                0        59824
         22   52756103880   72.198.57.13                 0        55461
         23   52753315808   70.178.250.147           17507        17507
         24   52741370854   68.228.144.184           17591        17591
         25   52736444056   68.14.80.187             55962        50860
         26   52720803476   68.230.145.56                0        56058
         27   52720083366   68.108.28.168            38159        38159
         28   52717225580   68.108.28.168            38159        38159
         29   52701298072   68.227.185.58                0         6881
         30   52696158270   68.227.185.58                0         6881
         31   52687961702   68.104.33.145                0        59681
         32   52687224554   68.102.46.14             13426        13426
         33   52681997194   68.224.19.134             4322        60129
         34   52681242866   68.102.46.14             13426        13426
         35   52673633616   68.104.33.145                0        52663
         36   52667515036   50.159.142.80                0        56230
         37   52665210230   50.159.108.38            15886        15886
         38   52658230752   70.177.233.82            19357        19357
         39   52650378058   68.102.46.14             13426        13426
         40   52649600964   68.102.46.14             62814        45711
         41   52644872832   50.158.42.121            32133        49856
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Number        NoticesID     IP                Trackname
          1   52235213826   70.161.172.138    After.Ever.Happy.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].m
          2   51998269860   98.186.195.187    The Protégé (2021) AC3 5.1 ITA.ENG 1080p H265 sub ita.eng Sp
          3   50781423708   174.72.179.158    Fall.2022.1080p.BluRay.H264.AAC‐RARBG.mp4
          4   50921146500   70.160.12.144     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
          5   51643585404   70.189.207.108    Fall.2022.720p.WEBRip.800MB.x264‐GalaxyRG.mkv
          6   51998876640   98.186.195.187    Fall.2022.720p.WEBRip.800MB.x264‐GalaxyRG.mkv
          7   52252775054   70.161.172.138    Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
          8   52564539256   70.163.221.46     www.5MovieRulz.lc ‐ Fall (2022) 1080p BluRay ‐ (DD+5.1 ‐ 640K
          9   52806820788   68.230.145.56     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         10   52796238184   68.230.145.56     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         11   52792226610   70.176.239.249    Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP.mkv
         12   52789574168   174.66.240.9      Fall.2022.2160p.4K.WEB.x265.10bit.AAC5.1‐[YTS.MX].mkv
         13   52788243934   184.187.165.114   Fall.2022.1080p.BluRay.x264.AAC5.1‐[YTS.MX].mp4
         14   52785566340   68.7.2.39         Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         15   52776772346   68.102.95.159     Fall.2022.WebDL.2160p.DV.Hevc.HDR.DTS.ITA.E‐AC3.ENG.AC3.
         16   52774730550   98.183.115.204    Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         17   52773380996   68.224.197.234    Fall.2022.1080p.BluRay.x265‐RARBG.mp4
         18   52773377312   174.66.240.9      Fall.2022.2160p.4K.WEB.x265.10bit.AAC5.1‐[YTS.MX].mkv
         19   52757493598   72.204.68.144     Fall.2022.2160p.WEB‐DL.DD5.1.HDR.H.265‐EVO.mkv
         20   52756793438   68.3.91.183       Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP.mkv
         21   52756103884   68.230.145.56     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         22   52756103880   72.198.57.13      Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         23   52753315808   70.178.250.147    Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         24   52741370854   68.228.144.184    Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         25   52736444056   68.14.80.187      Fall.2022.1080p.BluRay.H264.AAC‐RARBG.mp4
         26   52720803476   68.230.145.56     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         27   52720083366   68.108.28.168     Fall.2022.1080p.WEBRip.1400MB.DD5.1.x264‐GalaxyRG.mkv
         28   52717225580   68.108.28.168     Fall.2022.1080p.WEBRip.1400MB.DD5.1.x264‐GalaxyRG.mkv
         29   52701298072   68.227.185.58     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         30   52696158270   68.227.185.58     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         31   52687961702   68.104.33.145     Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP.mkv
         32   52687224554   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         33   52681997194   68.224.19.134     Fall.2022.1080p.BluRay.x264.AAC5.1‐[YTS.MX].mp4
         34   52681242866   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         35   52673633616   68.104.33.145     Fall.2022.1080p.WEBRip.DD5.1.x264‐NOGRP.mkv
         36   52667515036   50.159.142.80     Fall.2022.1080p.BluRay.x264.AAC5.1‐[YTS.MX].mp4
         37   52665210230   50.159.108.38     Fall 2022 BluRay 1080p DTS AC3 x264‐MgB.mkv
         38   52658230752   70.177.233.82     Fall.2022.1080p.WEBRip.x264.AAC5.1‐[YTS.MX].mp4
         39   52650378058   68.102.46.14      Fall.2022.WEB‐DLRip.Rus.Dub.DD.2.0.mkv
         40   52649600964   68.102.46.14      www.5MovieRulz.lc ‐ Fall (2022) 1080p BluRay ‐ (DD+5.1 ‐ 640K
         41   52644872832   50.158.42.121     www.5MovieRulz.lc ‐ Fall (2022) 720p BluRay ‐ (DD+5.1 ‐ 192Kb
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Number        NoticesID     IP                Region         City              TimeZone
          1   52235213826   70.161.172.138    Virginia       Virginia Beach    UTC
          2   51998269860   98.186.195.187    Louisiana      New Orleans       UTC
          3   50781423708   174.72.179.158    Nevada         Las Vegas         UTC
          4   50921146500   70.160.12.144     Virginia       Portsmouth        UTC
          5   51643585404   70.189.207.108    Nevada         Las Vegas         UTC
          6   51998876640   98.186.195.187    Louisiana      New Orleans       UTC
          7   52252775054   70.161.172.138    Virginia       Virginia Beach    UTC
          8   52564539256   70.163.221.46     Arizona        Chandler          UTC
          9   52806820788   68.230.145.56     Rhode Island   Lincoln           UTC
         10   52796238184   68.230.145.56     Rhode Island   Lincoln           UTC
         11   52792226610   70.176.239.249    Arizona        Gilbert           UTC
         12   52789574168   174.66.240.9      Oklahoma       Oklahoma City     UTC
         13   52788243934   184.187.165.114   California     Santa Barbara     UTC
         14   52785566340   68.7.2.39         California     National City     UTC
         15   52776772346   68.102.95.159     Kansas         Wichita           UTC
         16   52774730550   98.183.115.204    Oklahoma       Oklahoma City     UTC
         17   52773380996   68.224.197.234    Rhode Island   West Warwick      UTC
         18   52773377312   174.66.240.9      Oklahoma       Oklahoma City     UTC
         19   52757493598   72.204.68.144     Arkansas       Springdale        UTC
         20   52756793438   68.3.91.183       Arizona        Tempe             UTC
         21   52756103884   68.230.145.56     Rhode Island   Lincoln           UTC
         22   52756103880   72.198.57.13      Oklahoma       Yukon             UTC
         23   52753315808   70.178.250.147    Arkansas       Bentonville       UTC
         24   52741370854   68.228.144.184    Rhode Island   Pawtucket         UTC
         25   52736444056   68.14.80.187      Connecticut    Cheshire          UTC
         26   52720803476   68.230.145.56     Rhode Island   Lincoln           UTC
         27   52720083366   68.108.28.168     Nevada         North Las Vegas   UTC
         28   52717225580   68.108.28.168     Nevada         North Las Vegas   UTC
         29   52701298072   68.227.185.58     Rhode Island   Lincoln           UTC
         30   52696158270   68.227.185.58     Rhode Island   Lincoln           UTC
         31   52687961702   68.104.33.145     Nevada         Henderson         UTC
         32   52687224554   68.102.46.14      Kansas         Wichita           UTC
         33   52681997194   68.224.19.134     Nevada         Las Vegas         UTC
         34   52681242866   68.102.46.14      Kansas         Wichita           UTC
         35   52673633616   68.104.33.145     Nevada         Henderson         UTC
         36   52667515036   50.159.142.80     Nevada         Henderson         UTC
         37   52665210230   50.159.108.38     Nevada         Las Vegas         UTC
         38   52658230752   70.177.233.82     Virginia       Hampton           UTC
         39   52650378058   68.102.46.14      Kansas         Wichita           UTC
         40   52649600964   68.102.46.14      Kansas         Wichita           UTC
         41   52644872832   50.158.42.121     Nevada         Las Vegas         UTC
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Number        NoticesID     IP                Hit Date
          1   52235213826   70.161.172.138    2023‐02‐19 00:03:57
          2   51998269860   98.186.195.187    2023‐02‐05 09:01:56
          3   50781423708   174.72.179.158    2022‐11‐16 23:54:13
          4   50921146500   70.160.12.144     2022‐11‐27 03:32:01
          5   51643585404   70.189.207.108    2023‐01‐16 08:10:08
          6   51998876640   98.186.195.187    2023‐02‐05 09:44:59
          7   52252775054   70.161.172.138    2023‐02‐20 00:25:44
          8   52564539256   70.163.221.46     2023‐03‐14 03:43:42
          9   52806820788   68.230.145.56     2023‐03‐28 00:08:27
         10   52796238184   68.230.145.56     2023‐03‐27 09:06:01
         11   52792226610   70.176.239.249    2023‐03‐27 03:08:03
         12   52789574168   174.66.240.9      2023‐03‐27 00:13:44
         13   52788243934   184.187.165.114   2023‐03‐26 22:06:08
         14   52785566340   68.7.2.39         2023‐03‐26 18:17:12
         15   52776772346   68.102.95.159     2023‐03‐26 03:50:38
         16   52774730550   98.183.115.204    2023‐03‐26 02:23:30
         17   52773380996   68.224.197.234    2023‐03‐26 01:04:24
         18   52773377312   174.66.240.9      2023‐03‐26 01:08:55
         19   52757493598   72.204.68.144     2023‐03‐25 04:04:59
         20   52756793438   68.3.91.183       2023‐03‐25 00:51:10
         21   52756103884   68.230.145.56     2023‐03‐25 00:47:31
         22   52756103880   72.198.57.13      2023‐03‐25 00:39:21
         23   52753315808   70.178.250.147    2023‐03‐24 22:27:26
         24   52741370854   68.228.144.184    2023‐03‐24 07:31:17
         25   52736444056   68.14.80.187      2023‐03‐24 00:28:14
         26   52720803476   68.230.145.56     2023‐03‐22 22:59:13
         27   52720083366   68.108.28.168     2023‐03‐23 00:17:41
         28   52717225580   68.108.28.168     2023‐03‐22 21:15:50
         29   52701298072   68.227.185.58     2023‐03‐22 00:17:02
         30   52696158270   68.227.185.58     2023‐03‐21 17:13:45
         31   52687961702   68.104.33.145     2023‐03‐21 03:55:20
         32   52687224554   68.102.46.14      2023‐03‐21 05:00:45
         33   52681997194   68.224.19.134     2023‐03‐20 21:30:57
         34   52681242866   68.102.46.14      2023‐03‐20 21:07:05
         35   52673633616   68.104.33.145     2023‐03‐20 09:47:50
         36   52667515036   50.159.142.80     2023‐03‐20 02:04:38
         37   52665210230   50.159.108.38     2023‐03‐19 20:45:12
         38   52658230752   70.177.233.82     2023‐03‐19 14:23:25
         39   52650378058   68.102.46.14      2023‐03‐19 04:00:08
         40   52649600964   68.102.46.14      2023‐03‐19 02:26:23
         41   52644872832   50.158.42.121     2023‐03‐18 20:17:35
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Number        NoticesID     IP                Additional Titles
          1   52235213826   70.161.172.138
          2   51998269860   98.186.195.187
          3   50781423708   174.72.179.158    Mechanic: Resurrection
          4   50921146500   70.160.12.144     The Protege
          5   51643585404   70.189.207.108    The Hitmans Wifes Bodyguard
          6   51998876640   98.186.195.187    The Protege
          7   52252775054   70.161.172.138    After Ever Happy
          8   52564539256   70.163.221.46     Hellboy
          9   52806820788   68.230.145.56
         10   52796238184   68.230.145.56
         11   52792226610   70.176.239.249
         12   52789574168   174.66.240.9
         13   52788243934   184.187.165.114
         14   52785566340   68.7.2.39
         15   52776772346   68.102.95.159
         16   52774730550   98.183.115.204
         17   52773380996   68.224.197.234
         18   52773377312   174.66.240.9
         19   52757493598   72.204.68.144
         20   52756793438   68.3.91.183
         21   52756103884   68.230.145.56
         22   52756103880   72.198.57.13
         23   52753315808   70.178.250.147
         24   52741370854   68.228.144.184
         25   52736444056   68.14.80.187
         26   52720803476   68.230.145.56
         27   52720083366   68.108.28.168
         28   52717225580   68.108.28.168
         29   52701298072   68.227.185.58
         30   52696158270   68.227.185.58
         31   52687961702   68.104.33.145
         32   52687224554   68.102.46.14
         33   52681997194   68.224.19.134
         34   52681242866   68.102.46.14
         35   52673633616   68.104.33.145
         36   52667515036   50.159.142.80
         37   52665210230   50.159.108.38
         38   52658230752   70.177.233.82
         39   52650378058   68.102.46.14
         40   52649600964   68.102.46.14
         41   52644872832   50.158.42.121
